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Suprene Court of California

JORGE E. NAVARRETE
Clerk and Executive Officer of the Supreme Court

CERTIFICATE OF THE CLERK OF THE SUPREME COURT
OF THE

STATE OF CALIFORNIA

SERGE ALEXANDER VORONOV

I JORGE E. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of.
California, do hereby certify SERGE ALEXANDER VORONOV #298655 was on the 25"

day of November 2014 duly admitted to practice as an attorney and counselor at law in all
the courts of this state, and is now listed on the Roll of Attorneys as a member of the bar

of this state in good standing.

Witness my hand and the seal of the court
on this day of December 10", 2024.

JORGE E. NAVARRETE
Clerk/Executive Officer of the Supreme Court

By: ee) pa

Florentino Jimenez, |Asststant Deputy Clerk

